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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                   Plaintiff,               )                    4:12CR3008
                                            )
            v.                              )
                                            )
LITA CHANHDARA,                             )         MEMORANDUM AND ORDER
                                            )
                   Defendants.              )
                                            )


     At the defendant’s oral request and with the parties consent,

     IT IS ORDERED:

     1)     The defendant’s motion to continue the suppression hearing (filing no. 42), is
            granted.

     2)     The defendant’s suppression hearing will be conducted before the undersigned
            magistrate judge on May 23, 2012 at 2:00 p.m. The defendant is ordered to
            appear at this hearing.

     3)     The ends of justice served by continuing defendant’s suppression hearing
            outweigh the best interest of the defendant and the public in a speedy trial.
            Accordingly, the time between today’s date and May 23, 2012 shall be
            excluded for speedy trial calculation purposes. 18 U.S.C. § 3161(h)(7).

     4)     The government’s briefing deadline is extended to May 18, 2012.

     DATED this 11th day of April, 2012.

                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge
